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     Attorneys for Plaintiffs
14
                      UNITED STATES DISTRICT COURT
15                   CENTRAL DISTRICT OF CALIFORNIA
16
                                                     Case No.: 2:24-cv-04702
17   YITZCHOK FRANKEL et al.,
18        Plaintiffs,                                PLAINTIFFS’ NOTICE
                                                     OF MOTION AND
19   v.
                                                     MOTION FOR
20   REGENTS OF THE UNIVERSITY OF                    PRELIMINARY
     CALIFORNIA et al.,                              INJUNCTION
21
           Defendants.
22                                                   Date: July 22, 2024
23                                                   Time: 9:00 a.m.
                                                     Courtroom: 7C
24
                                                     Judge: Hon. Mark C. Scarsi
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26
27
28

     * admitted pro hac vice
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1       TO DEFENDANTS AND TO THEIR COUNSEL OF RECORD:
2       NOTICE IS HEREBY GIVEN that on July 22, 2024, at 9:00 A.M. in
3    Courtroom 7C of the above-entitled court, located at 350 W. 1st St., Los
4    Angeles, California, Plaintiffs will move and hereby move this Court to
5    preliminarily enjoin Defendants from operating in a way that violates
6    Plaintiffs’ constitutional and statutory rights.
7       As described in more detail in the accompanying memorandum,
8    Plaintiffs are three Jewish students currently enrolled at UCLA who
9    wish to attend classes and other activities free from discrimination and
10   antisemitic harassment. But as things stand, UCLA has failed to
11   guarantee Plaintiffs equal access to UCLA’s educational facilities, indoor
12   and outdoor areas on campus, and UCLA-affiliated activities and
13   programs. Rather, Defendants have supported and facilitated religion-
14   and race-based exclusions.
15      UCLA’s actions are unconstitutional in many respects. First, UCLA’s
16   actions violate the Free Exercise Clause. The Supreme Court has
17   “repeatedly held that a State violates the Free Exercise Clause when it
18   excludes religious observers from otherwise available public benefits.”
19   Carson v. Makin, 596 U.S. 767, 778 (2022). In addition, government
20   policies that (1) treat “any comparable secular activity more favorably
21   than religious exercise,” Tandon v. Newsom, 593 U.S. 61, 62 (2021), or
22   (2) allow for a “discretionary” system of “individualized exemptions,”
23   Fulton v. City of Philadelphia, 593 U.S. 522, 533, 536 (2021), violate the
24   Free Exercise Clause unless they satisfy strict scrutiny. Fellowship of
25   Christian Athletes v. San Jose Unified Sch. Dist. Bd. of Educ., 82 F.4th
26   664, 690 (9th Cir. 2023) (en banc). Here, UCLA’s policies violate all three
27   commands, and the policies do not satisfy strict scrutiny.
28
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1       Second, UCLA’s policies violate the Free Speech Clause. The
2    government’s attempt to regulate speech based on the “specific
3    motivating ideology or the opinion or perspective of the speaker” is a
4    “blatant” and “egregious” violation of the Free Speech Clause that is
5    “presumptively unconstitutional.” Rosenberger v. Rector & Visitors of
6    Univ. of Va., 515 U.S. 819, 829-30 (1995). Similarly, the government
7    cannot “coerce an individual to speak contrary to her beliefs on a
8    significant issue of personal conviction.” 303 Creative LLC v. Elenis, 600
9    U.S. 570, 598 (2023). Here, UCLA’s policies violate both of these core
10   First Amendment rules without satisfying strict scrutiny.
11      Third, UCLA’s policies violate the Equal Protection Clause. It has long
12   been established that denying access to public educational institutions
13   on the basis of religion or ethnicity violates the Constitution’s guarantee
14   of equal protection of the laws. Students for Fair Admissions, Inc. v.
15   President & Fellows of Harvard Coll., 600 U.S. 181, 202-03 (2023). Here,
16   UCLA’s policies have led to the segregation of Plaintiffs based on their
17   race and religion, and this discrimination cannot survive strict scrutiny.
18   Parents Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701,
19   720 (2007).
20      Finally, UCLA’s policies violate Title VI of the Civil Rights Act of 1964,
21   42 U.S.C. § 2000d et. seq. Specifically, Title VI prohibits discrimination
22   against Jews—including based on actual or perceived ancestry, race,
23   ethnic characteristics, or national origin. Cf. Shaare Tefila Congregation
24   v. Cobb, 481 U.S. 615, 616 (1987); 34 C.F.R. § 100.3(a), (b)(1)(iv), (vi).
25   Here, UCLA’s policies discriminated against Plaintiffs based on their
26   ethnicity as Jews by excluding them from participation in UCLA
27   programs and denying them the full benefits of those programs.
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1       WHEREFORE, Plaintiffs pray that this Court grant a preliminary
2    injunction in this action. This request is based on this Notice of Motion
3    and Motion; the accompanying supporting Memorandum of Points and
4    Authorities; the supporting declarations and exhibits of Yitzchok
5    Frankel, Joshua Ghayoum, Eden Shemuelian, and Eric Rassbach; as well
6    as the papers, evidence, and records on file in this action; and any other
7    written or oral evidence or argument as may be presented at or before
8    the time this motion is heard by the Court. A proposed order is filed
9    herewith.
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1    Dated: June 24, 2024        Respectfully submitted,
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                                 /s/ Eric C. Rassbach
3
                                 Eric C. Rassbach (CA SBN 288041)
4                                Mark L. Rienzi (DC Bar No. 494336)*
                                 Laura Wolk Slavis (DC Bar No. 1643193)*
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                                 Attorneys for Plaintiffs
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1                   PROOF OF SERVICE DECLARATION
2
        1. Pursuant to Local Civil Rule 5-3.2.1, I certify that I will serve
3
     Plaintiffs’ Notice of Motion and Motion for Preliminary Injunction (and
4
     all its attached documents) upon counsel for Defendants.
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        2. I will serve these documents by e-mail on Monday, June 24, 2024.
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        3. I will serve these documents on Jennifer Sokoler, Meaghan
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     VerGow, Anton Metlitsky, and Matt Cowan, all of whom are counsel for
8
     Defendants Regents of the University of California; Michael V. Drake;
9
     Gene D. Block; Darnell Hunt; Michael Beck; Monroe Gorden, Jr.; and
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     Rick Braziel, each in both his official and personal capacities. In doing so,
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     Plaintiffs will have provided notice to all adverse parties as required by
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     Federal Rule of Civil Procedure 65(a)(1).
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        4. The documents to be served include (1) Plaintiffs’ Notice of Motion
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     and Motion for Preliminary Injunction; (2) Plaintiffs’ Memorandum in
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     support of their Motion for Preliminary Injunction; (3) Declaration of
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     Yitzchok Frankel (and the accompanying exhibit); (4) Declaration of
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     Joshua Ghayoum (and all accompanying exhibits); (5) Declaration of
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     Eden Shemuelian (and all accompanying exhibits); (6) Declaration of Eric
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     Rassbach (and all accompanying exhibits); and (7) Plaintiffs’ Proposed
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     Order.
21
        5. In accordance with Federal Rule of Civil Procedure 5(b)(2)(E), these
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     documents will be served electronically by email. Counsel for Defendants
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     consented in writing to this method of service on Friday, June 21, 2024.
24
25   Dated: June 24, 2024
26                                               /s/ Eric C. Rassbach
                                                 Eric C. Rassbach
27
                                                 Counsel for Plaintiffs
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          NOTICE OF MOTION AND MOTION FOR PRELIMINARY INJUNCTION
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